                                Fourth Court of Appeals
                                        San Antonio, Texas
                                   MEMORANDUM OPINION
                                            No. 04-23-00016-CV

               Ronald RODRIGUEZ and The Law Offices of Ronald Rodriguez, P.C.,
                                      Appellants

                                                       v.

                             Juan J. CRUZ and J. Cruz &amp; Associates, LLC,
                                             Appellees

                     From the 406th Judicial District Court, Webb County, Texas
                                Trial Court No. 2022CVK001183D4
                              Honorable Sid L. Harle, Judge Presiding

PER CURIAM

Sitting:          Rebeca C. Martinez, Chief Justice
                  Lori I. Valenzuela, Justice
                  Sandee Bryan Marion, Chief Justice (Ret.) 1

Delivered and Filed: August 14, 2024

DISMISSED

           Appellants have filed an agreed motion to dismiss this appeal. We grant the motion and

dismiss the appeal. See TEX. R. APP. P. 42.1(a)(1). Costs of the appeal are taxed against the party

who incurred them. See id. R. 42.1(d).

                                                        PER CURIAM




1
 The Honorable Sandee Bryan Marion, Chief Justice (Retired) of the Fourth Court of Appeals, sitting by assignment
of the Chief Justice of the Texas Supreme Court. See TEX. GOV’T CODE §§ 74.003, 75.002, 75.003.
